
70 So.3d 808 (2011)
STATE ex rel. Iley DOTCH
v.
STATE of Louisiana.
No. 2010-KH-2155.
Supreme Court of Louisiana.
September 23, 2011.
In re Dotch, Iley;Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. L, No. 78,145.
Denied. Untimely and repetitive. La. C.Cr.P. art. 930.8; State ex rel Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; cf. La.C.Cr.P. art. 930.4(D).
